 Case: 1:18-cv-07686 Document #: 1409 Filed: 07/15/22 Page 1 of 4 PageID #:15558




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ILLINOIS
                         EASTERN DIVISION


 WELLY CHANDRA, et al.,               )
                                      )
             Plaintiffs,              )           Lead Case No.:
                                      )                18-cv-07686
       v.                             )
                                      )
 THE BOEING                           )           Honorable Thomas M. Durkin
 INTERNATIONAL SALES                  )
 CORPORATION, A Washington            )
 State Profit Corporation, et al.,    )
                                      )
             Defendants.              )
                                      )


  OBJECTION BY LIRA AND GRIFFIN TO EDELSON’S MOTION FOR
   MODIFICATION OF CONFIDENTIALITY ORDER [Dkt. No. 1408]
      Counsel for David Lira and Keith Griffin have been meeting and conferring
with Edelson regarding the Supplemental Confidentiality for Disclosure of
Protected Materials Used in the Contempt Proceedings to State Bar Associations
and the Amended Confidentiality Order for Use Only in the Contempt
Proceedings. Despite the ongoing meet and confer efforts, Edelson filed these
documents without incorporating any of the changes requested by Griffin and Lira.
Likewise, Edelson did not acknowledge the privilege concerns raised by Griffin
and Lira.
      Lira and Griffin have the following objections to the Supplemental
Confidentiality Order for Disclosure of Protected Materials Used in the Contempt
Proceedings to the State Bar Associations filed by Edelson. [Dkt. No. 1408-2]:
      1.    Under paragraph 2 the following subsection “c” should be added:


                                          1
 Case: 1:18-cv-07686 Document #: 1409 Filed: 07/15/22 Page 2 of 4 PageID #:15559




“Documents related to the Andrian, Saroinsong, Sulistiowati, and Lestari,
plaintiffs.”
       These plaintiffs have never waived the attorney client privilege. Documents
related to their representation should not be turned over.
       2.      “State Bar of Illinois” should be added to the list of entities that are
entitled to the limited disclosure. They should be added to paragraph 2.
       3.      The following language should be added as paragraph 9:
               “Before documents produced in the Lion Air action as
               confidential by the Trustee for Girardi Keese are
               produced to any State Bar Association, the Trustee for
               Girardi Keese should have the opportunity to review the
               documents for attorney client privilege, meet and confer
               regarding the same, and if necessary, formally object to
               the turnover of such documents.”
       The Girardi Keese Trustee produced documents in this action, which were
designated as confidential. Some of those documents contain references to other
Girardi Keese clients who have not waived the attorney-client privilege. Before
such documents are turned over, the Girardi Keese Trustee should determine
whether they are intending on preserving that privilege. This is consistent with the
provisions of the prior confidentiality order in this matter.
       4.      Additionally, Griffin and Lira believe the following language should
be added as paragraph 10:
               “Challenges to Right to Documents. If any attorney
               becomes aware that the documents produced to the
               Receiving State Bar contain attorney-work product, such
               attorney retains all rights and remedies to demand a
               return of such document. This Supplemental Order does

                                             2
 Case: 1:18-cv-07686 Document #: 1409 Filed: 07/15/22 Page 3 of 4 PageID #:15560




             not affect any such rights of the attorneys.”
      A Supplemental Confidentiality Order for Disclosure of Protected Materials
Used in the Contempt Proceedings to the State Bar Associations incorporating
these changes is attached as Exhibit 1.
      Lira and Griffin have the following objections to Amended Confidentiality
Order For Use Only in the Contempt Proceedings filed by Edelson. [Dkt. No.
1408-1]:
      1.     The State Bar of Illinois should be included in paragraph 8.
      An Amended Confidentiality Order For Use in the Contempt Proceedings
incorporating these changes is attached as Exhibit 2.


                                                     DAVID LIRA
                                      By:               /s/ Leigh P. Robie
                                                     __________________________
                                                           His Attorney
    Christopher T. Sheean                       Edith R. Matthai
    Swanson, Martin & Bell LLP                  Leigh P. Robie
    330 N. Wabash Ave., Suite 3300              Robie & Matthai, APC
    Chicago, Illinois 60611                     350 S. Grand Avenue, Suite 3950
    (312) 222-8559                              Los Angeles, California 90071
    csheean@smbtrials.com                       (213) 706-8000
                                                ematthai@romalaw.com




                                            3
 Case: 1:18-cv-07686 Document #: 1409 Filed: 07/15/22 Page 4 of 4 PageID #:15561




                             CERTIFICATE OF SERVICE
      I, Leigh P. Robie, the undersigned attorney, hereby certify that on July 15, 2022, I
served a true and correct copy of the OBJECTION BY LIRA AND GRIFFIN TO
EDELSON’S MOTION FOR MODIFICATION OF CONFIDENTIALITY ORDER
[Dkt. No. 1408] upon all counsel of record via the Court’s CM/ECF System.


                                                 /s/ Leigh P. Robie
                                         ____________________________________




                                            4
